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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

MISSION TOXICOLOGY, LLC, and SUN §          No. 5:17-CV-1016-DAE
CLINICAL LABORATORY, LLC,        §
                                 §
     Plaintiffs,                 §
                                 §
vs.                              §
                                 §
UNITEDHEALTHCARE INSURANCE       §
COMPANY, UNITEDHEALTHCARE OF §
TEXAS, INC., UNITEDHEALTHCARE OF §
FLORIDA, INC., and UNITED        §
HEALTHCARE SERVICES, INC.,       §
                                 §
     Defendants.                 §
                                 §
_______________________________  §
                                 §
UNITEDHEALTHCARE INSURANCE       §
COMPANY, INC., and               §
UNITEDHEALTHCARE SERVICES, INC., §          No. 5:18-CV-347-DAE
                                 §
     Plaintiffs,                 §
                                 §
vs.                              §
                                 §
MICHAEL MURPHY, M.D., JESSE      §
SAUCEDO, JR., SAMANTHA MURPHY, §
LYNN MURPHY, JULIE PRICER,       §
MISSION TOXICOLOGY LLC, SUN      §
CLINICAL LABORATORY, LLC, SUN    §
ANCILLARY MANAGEMENT LLC,        §
INTEGRITY ANCILLARY              §
MANAGEMENT LLC, ALTERNATE        §
HEALTH LAB, INC., and LMK        §
MANAGEMENT LLC,                  §
                                 §
     Defendants.                 §
_______________________________  §


                   REPORT AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

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To the Honorable Senior United States District Judge David A. Ezra:

        On May 23, 2018, the District Court referred to the undersigned the issue of determining

whether the above-referenced two actions should be consolidated pursuant to Federal Rule of

Civil Procedure 42. See 28 U.S.C. § 636(b)(1)(B). As discussed further below, the undersigned

recommends that these actions be consolidated for all pretrial purposes as requested by the

parties. The undersigned further recommends that a decision on consolidation for trial purposes

is best deferred until closer to trial.

        The Federal Rules of Civil Procedure provide:

        If actions before the court involve a common question of law or fact, the court may:
            (1)     join for hearing or trial any or all matters at issue in the actions;
            (2)     consolidate the actions; or
            (3)     issue any other orders to avoid unnecessary cost or delay.

Fed. R. Civ. P. 42(a). Consolidation under Rule 42 is permitted “‘as a matter of convenience and

economy in administration.’” Shafer v. Army & Air Force Exch. Serv., 376 F.3d 386, 394 (5th

Cir. 2004) (quoting Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496 (1933)). Consolidation is

not permitted “if it would prejudice the rights of the parties.” St. Bernard Gen. Hosp., Inc. v.

Hosp. Serv. Ass’n of New Orleans, Inc., 712 F.2d 978, 989 (5th Cir. 1983).

        “In this Circuit, district judges have been ‘urged to make good use of Rule 42(a) . . . in

order to expedite the trial and eliminate unnecessary repetition and confusion.’” In re Air Crash

Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1013 (5th Cir. 1977)

(quoting Gentry v. Smith, 487 F.2d 571, 581 (5th Cir. 1973)). Thus, Rule 42(a) ‘is permissive

and vests a purely discretionary power in the district court.’” Id. (quoting Whiteman v. Pitrie,

220 F.2d 914, 918 (5th Cir. 1955)). Five factors inform a court’s inquiry into whether

consolidation is appropriate: (1) whether the actions are pending in the same court; (2) whether



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there are common parties; (3) whether there are common questions of law or fact; (4) whether

there is risk of prejudice or confusion versus a risk of inconsistent adjudications if the cases are

tried separately; and (5) whether consolidation will promote judicial economy. Frazier v.

Garrison I.S.D., 980 F.2d 1514, 1531 (5th Cir. 1993); Parker v. Hyperdynamics Corp., 126 F.

Supp. 3d 830, 835 (S.D. Tex. 2015).

       Here, the factors reflect that consolidation for pretrial purposes is warranted. The first

two factors favor consolidation. Both actions are pending in the same court, concern the same

parties or related entities and their officers, and involve the same attorneys. There are also

presented several common questions of fact, which nudges the third factor in favor of

consolidation. Specifically, both cases involve claims submitted for services provided to

United’s members by several toxicology laboratories. In the first-filed case, Mission Toxicology

et al. v. UnitedHealthcare Ins. Co. et al., No. 5:17-CV-1016-DAE (W.D. Tex. Oct. 6, 2017),

Plaintiffs Mission Toxicology and Sun Laboratories seek recovery for unpaid claims submitted

to United on behalf of United’s insureds under the Employee Retirement Income Security Act

(“ERISA”), 29 U.S.C. § 1001. See Sec. Amend. Compl. According to the live complaint, the

claims were submitted by two of United’s rural in-network hospitals for services provided at

Mission Toxicology and Sun Laboratories’ labs. In the second-filed case, UnitedHealthcare Ins.

Co. et al. v. Michael Murphy, M.D. et al., No. 5:18-cv-347-DAE (W.D. Tex. filed Apr. 18,

2018), United brings various fraud-related claims against Mission Toxicology, Sun Laboratories,

and various entities or individuals, managed by, owned by, or otherwise affiliated with Mission

Toxicology and Sun Laboratories (collectively, the “Labs”). According to United, the Labs used

“financially-strained rural hospitals as ‘fronts’ to conceal the true identity of the [out-of-network]

lab that performed the testing services.” Compl. at 1. Further, the parties seem to agree that some



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form of limited consolidation would be in the interest of all parties involved. See Joint Report for

Consolidation Under Fed. R. Civ. P. 42 at 2 (“Respective counsel for the Parties conferred on

June 25, 2018 and reached a joint understanding on proposed consolidation, as follows: Claims

in both C.A. No. 5:17-cv-01016 and C.A. No. 5:18-cv-347 should proceed under the existing

Scheduling Order and deadlines in C.A. No. 5:17-cv-01016 (ECF No. 21)”).1

       The parties disagree whether consolidation for purposes of trial is appropriate. United

argues that its state-law claims will require a jury trial and that the Labs’ ERISA claims merit a

bench trial. The Labs, in contrast, urge that a jury trial ultimately will be unnecessary because

United’s state-law claims are preempted by ERISA. The Labs further argue that even if the Court

were to disagree with them on preemption, “the actions should be tried together before a jury

with the Court adjudicating the claims governed by ERISA and the remaining claims being

decided by the trier of fact. Trying the two cases separately would necessitate explanation of the

same facts and be an undue burden on the Court and the parties.” Id. at 3. Whether United’s

state-law claims are preempted is an issue raised by the Labs’ pending motion to dismiss. See

UnitedHealthcare Ins. Co. et al. v. Michael Murphy, M.D. et al., No. 5:18-cv-347-DAE, Dkt.

No. 17 at 8-14.

       To the extent the District Court determines that United’s claims are not preempted, it is

unclear how separate trials would create an undue burden on the Court or the parties. Both cases

will be heard before the same District Judge and only United’s claims will require a jury.

Ultimately, however, a determination on consolidation for trial is best addressed closer to trial,

once it has been determined which claims remain at issue following a ruling on the pending

motion to dismiss.

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 The Joint Report was filed in the second-filed action, UnitedHealthcare Ins. Co. et al. v.
Michael Murphy, M.D. et al., No. 5:18-cv-347. See Dkt. No. 23.
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          The undersigned therefore recommends that Civil Action Nos. 5:17-cv-01016-DAE and

5:18-cv-347-DAE be consolidated for all pretrial proceedings, including discovery. Future filings

should be made in the first-filed action, Mission Toxicology et al. v. UnitedHealthcare Ins. Co. et

al., No. 5:17-CV-1016-DAE, and the parties should proceed pursuant to the Scheduling Order

entered in that case, Dkt. No. 21. To the extent the Labs believe consolidation for purposes of

trial is appropriate, they can re-urge their consolidation request at an appropriate time in the

future.

                   Instructions for Service and Notice of Right to Object/Appeal

The United States District Clerk shall serve a copy of this report and recommendation on all

parties by either (1) electronic transmittal to all parties represented by attorneys registered as a

“filing user” with the clerk of court, or (2) by mailing a copy by certified mail, return receipt

requested, to those not registered. Written objections to this report and recommendation must be

filed within fourteen (14) days after being served with a copy of same, unless this time period is

modified by the district court. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The objecting party

shall file the objections with the clerk of the court, and serve the objections on all other parties. A

party     filing   objections   must   specifically       identify   those   findings,   conclusions,   or

recommendations to which objections are being made and the basis for such objections; the

district court need not consider frivolous, conclusory, or general objections. A party’s failure to

file written objections to the proposed findings, conclusions, and recommendations contained in

this report shall bar the party from a de novo determination by the district court. Thomas v. Arn,

474 U.S. 140, 149-52 (1985); Acuña v. Brown & Root, Inc., 200 F.3d 335, 340 (5th Cir. 2000).

Additionally, failure to timely file written objections to the proposed findings, conclusions, and

recommendations contained in this report and recommendation shall bar the aggrieved party,



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except upon grounds of plain error, from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court. Douglass v. United Servs. Auto.

Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       IT IS SO ORDERED.

       SIGNED this 7th day of August, 2018.




                                            RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE




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